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14 Attorneys for Plaintiffs and the Proposed Classes

15
                                                UNITED STATES DISTRICT COURT
16
                                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17
   STACIA STINER; RALPH CARLSON, in his                              Case No. 4:17-cv-03962-HSG (LB)
18 capacity as Trustee of the Beverly E. Carlson and
   Helen V. Carlson Joint Trust; LORESIA                             DECLARATION OF RACHEL L.
19 VALLETTE, in her capacity as representative of                    STEYER IN SUPPORT OF
   the Lawrence Quinlan Trust; MICHELE LYTLE,                        PLAINTIFFS’ MOTION FOR CLASS
20 in her capacity as Trustee of the Boris Family                    CERTIFICATION
   Revocable Trust; RALPH SCHMIDT, by and
21 through his Guardian Ad Litem, HEATHER                            Date:    May 26, 2022
   FISHER; PATRICIA LINDSTROM, as                                    Time:    2:00 p.m.
22 successor-in-interest to the Estate of ARTHUR                     Place:   Courtroom 2
   LINDSTROM; BERNIE JESTRABEK-HART;                                 Judge:   Hon. Haywood S. Gilliam, Jr.
23 and JEANETTE ALGARME; on their own
   behalves and on behalf of others similarly
24 situated,
                  Plaintiffs,
25
           v.
26 BROOKDALE SENIOR LIVING, INC.;

27 BROOKDALE SENIOR LIVING
   COMMUNITIES, INC.; and DOES 1 - 100,
28                Defendants.
     .Crosthwait Grunfeld, declare:




                                                                               Case No. 4:17-cv-03962-HSG (LB)
                    DECL. OF RACHEL L. STEYER IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-2 Filed 08/18/21 Page 2 of 24




 1    I, Rachel L. Steyer, declare:

 2          1.      I am an attorney duly admitted to practice before this Court. I am an associate

 3 attorney in the law firm of Schneider Wallace Cottrell Konecky (“SWCK”), co-lead counsel of

 4 record for Plaintiffs and the Proposed Classes. I have personal knowledge of the facts set forth

 5 herein, and if called as a witness, I could competently so testify. I make this Declaration in

 6 support of Plaintiffs’ Motion for Class Certification.

 7          2.      I have reviewed the Declarations submitted by the named Plaintiffs, putative class

 8 members, and fact witnesses in support of Plaintiffs’ Motion for Class Certification. The

 9 Declarations of putative class members and fact witnesses, which include friends and family

10 members of current and former residents of Brookdale’s California facilities, are combined in the

11 Appendix of Declarations of Putative Class Members and Fact Witnesses (“Appendix”),

12 comprising 82 Declarations and a total of 645 pages. The Declarations of the named Plaintiffs are

13 filed separately and comprise 99 additional pages.

14          3.      I submit this Declaration and the accompanying tables, numbered 1 through 10, for

15 the benefit of the Court.

16          4.      Based on my review of the 92 Declarations submitted by the named Plaintiffs and

17 the other putative class members and fact witnesses (“the Declarations”), I have identified 78

18 declarants who reported that the resident experienced access barriers that deny or denied them full

19 and equal access to and enjoyment of the Brookdale facility in which they reside or resided. A list
20 of those declarants and the paragraph(s) of their Declaration in which they discuss encountering

21 those barriers appears in Table 1 attached hereto.

22          5.      Of those declarants who identify putative class members who were denied full and

23 equal access to and enjoyment of Brookdale’s facilities, many described the difficulty that the

24 putative class member had in using the bathrooms in their unit due to the lack of wheelchair

25 turning space in the bathroom or knee space under the sink, missing or improperly placed grab

26 bars, sinks and medicine cabinets that are too high, inaccessible toilets and other features that are

27 not accessible. There are at least 48 Declarations that describe such inaccessible bathrooms and

28 the difficulty caused by such inaccessibility. Those Declarations and the paragraphs in which

                                                2                 Case No. 4:17-cv-03962-HSG (LB)
       DECL. OF RACHEL L. STEYER IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1 these inaccessible bathrooms are discussed appear in Table 2 attached to this declaration.

 2          6.      One of the difficulties experienced by putative class members with mobility

 3 disabilities that is frequently described in the Declarations is the difficulty in using the showers in

 4 their units because of the lack of an accessible roll-in showers that comply with the applicable

 5 access standards. Thirty-seven (37) declarants describe these barriers and the difficulty they cause

 6 for the putative class member. Their Declarations and the paragraph(s) in which these barriers are

 7 discussed are identified in Table 3 to this Declaration.

 8          7.      Also discussed in the Declarations are many instances of inaccessible sinks,

 9 counters and/or tables in both the common areas of Brookdale’s facilities and resident rooms, and

10 the difficulty, fatigue and frustration that class members experience as a result of those barriers.

11 Discussions of these types of barriers are found in the Declarations identified in Table 4 to this

12 Declaration at the paragraphs specified therein.

13          8.      Many declarants describe the fact that they or their friend or family member

14 residing at Brookdale have found it difficult or impossible to use their own closets because the

15 clothing rods and shelves are too high and out of reach. Declarations describing this barrier and

16 the paragraphs in which it is discussed are identified in Table 5, attached hereto.

17          9.      Another barrier frequently identified in the Declarations is the inability to access

18 the balcony or patio off of the resident’s room due to the fact that the sliding glass door has a

19 threshold that is too high or requires too much force or pinching and grasping to open. The
20 Declarations describing these barriers and the difficulty and frustration class members experience

21 as a result, along with the paragraphs in which these descriptions appear, are listed in Table 6.

22          10.     A number of declarants have described the impact of Brookdale’s policy of

23 requiring that residents who use scooters or wheelchairs transfer out of their devices and into

24 passenger seats as a condition of using Brookdale’s transportation services. In many instances,

25 this policy has deterred residents with mobility disabilities from using Brookdale’s busses to go on

26 outings. This is discussed in the Declarations identified in Table 7 to this Declaration, in the

27 paragraphs specified in the tables.

28

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                                          Table 1
Declarations identifying access barriers in Brookdale’s California assisted living facilities.


                              Declarant                  Paragraphs
                      Algarme, Jeanette            ¶¶23-26
                      Allen, Carole                ¶¶16-17
                      Alvey, Clarence              ¶¶12-13
                      Andersen, Peter              ¶¶15-16
                      Arnhym-Yanito, Anne          ¶¶17-19
                      Arriaga, Michael             ¶15
                      Arsenian, Lee                ¶¶19-24
                      Baum, Anna                   ¶15
                      Bennett, Michael             ¶¶20-21
                      Best, Lori                   ¶¶16-19
                      Bier, Barbara                ¶¶22-24
                      Biggs-Adams, Carrie          ¶17
                      Bowen, Carolyn               ¶¶15-16
                      Buff, Yvonne                 ¶¶16-18
                      Burchfiel, Marian            ¶¶19-21
                      Caan, Bernice                ¶¶17-21
                      Caffery, Nancy               ¶¶23-25
                      Cannella, Karen              ¶¶16-17
                      Carlson, Joan                ¶¶33-35
                      Carlson, Ralph               ¶¶18-19
                      Claussen, Tracee             ¶¶22-23
                      Costantino, Daniela          ¶¶14-19
                      Cuomo, Julie                 ¶¶15-17
                      Danek, Susan                 ¶¶19-21
                      DeMello, Wendy               ¶¶21-24
                      Doane, Mona                  ¶¶19-20
                      Dubnow, Barry                ¶15
                      Finn, Teresa                 ¶¶14-16
                      Fischer, Paula               ¶¶16-17
                      Ford-Melka, Joanna           ¶¶20-24
                      Frazin, Karen                ¶¶19-21
                      Garrett, Max                 ¶15
                      Gilbertson, Anne             ¶¶19-26
                      Hefner, Patty                ¶15
                      Helm, Mary                   ¶25
                      Hendricks, Karen             ¶¶17-18
                      Hernandez, Heidi             ¶¶18-24
                      Honsvick, Ronad              ¶¶14-15
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           Howard, Tina              ¶¶15-16
           Hughes, Lisa              ¶¶21-23
           Ibarra, Lucy              ¶¶17-19
           Ireland, Shana            ¶¶16-17
           Jamson, Nick              ¶¶20-23
           Jestrabek-Hart, Bernie    ¶¶28-29
           Kaplan, Michael           ¶¶19-21
           Kotila, Susan             ¶¶15-16
           Lane, Apryl               ¶¶16-17
           Lindstrom, Pat            ¶12
           Lombardi, Ray             ¶¶11-16
           Lytle, Michele            ¶21
           Maxson, Daniel            ¶¶15-20
           Mikell, Michelle          ¶¶20-21
           Osuna, Elaine             ¶¶15-17
           Paulsen, Charlotte        ¶¶18-20
           Penney, Coleen            ¶¶13-22
           Phelps, Patricia Anne     ¶19
           Pizzati, Linda            ¶¶19-23
           Ribich, Norma             ¶¶13-14
           Rons, Yvonne              ¶16
           Sage, Nancy               ¶¶18-20
           Sheek, Cory               ¶¶16-18
           Shepphird, Tammy          ¶¶21-23
           Sosebee-Barnett, Cheryl   ¶18
           Stiner, Stacia            ¶¶18-21
           Stinson, Debbie           ¶¶20-22
           Streem, Holly Lou         ¶¶21-24
           Switzer, Barbara          ¶¶17-22
           Vallette, Loresia         ¶¶22-23
           Vance, Patrick            ¶¶18-22
           Vanderheide, Judith       ¶¶21-23
           Voorhis, Ray              ¶¶16-17
           Walsh, Leanne             ¶¶17-18
           Warford, April            ¶¶21-22
           Weaver, Mike              ¶¶14-20
           Wells, Fred               ¶¶18-20
           White, Marilyn            ¶¶20-22
           Woodworth, Kathleen       ¶¶20-22
           Wright, Steve             ¶¶14-18
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                                         Table 2
Declarations describing difficulty using resident bathrooms due to access barriers.
                              Declarant                  Paragraphs
                    Algarme, Jeanette             ¶24
                    Allen, Carole                 ¶16
                    Andersen, Peter               ¶¶15-16
                    Arnhym-Yanito, Anne           ¶18
                    Bennett, Michael              ¶21
                    Best, Lori                    ¶16
                    Biggs-Adams, Carrie           ¶17
                    Burchfiel, Marian             ¶19
                    Caan, Bernice                 ¶19
                    Carlson, Joan                 ¶33
                    Carlson, Ralph                ¶18
                    Costantino, Daniela           ¶14
                    Cuomo, Julie                  ¶15
                    Danek, Susan                  ¶19
                    DeMello, Wendy                ¶22
                    Doane, Mona                   ¶19
                    Dubnow, Barry                 ¶15
                    Finn, Teresa                  ¶14
                    Fischer, Paula                ¶16
                    Ford-Melka, Joanna            ¶20
                    Frazin, Karen                 ¶¶19-20
                    Garrett, Max                  ¶15
                    Gilbertson, Anne              ¶¶21-22
                    Helm, Mary                    ¶25
                    Hendricks, Karen              ¶17
                    Hernandez, Heidi              ¶19
                    Hughes, Lisa                  ¶21
                    Ibarra, Lucy                  ¶18
                    Ireland, Shana                ¶16
                    Kaplan, Michael               ¶19
                    Lane, Apryl                   ¶16
                    Lindstrom, Pat                ¶12
                    Maxson, Daniel                ¶¶15, 18
                    Osuna, Elaine                 ¶15
                    Paulsen, Charlotte            ¶19
                    Penney, Coleen                ¶¶13-15
                    Pizzati, Linda                ¶20
                    Sheek, Cory                   ¶17
                    Shepphird, Tammy              ¶¶21-22
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          Stiner, Stacia         ¶¶19-20
          Streem, Holly Lou      ¶22
          Switzer, Barbara       ¶¶17-19
          Vance, Patrick         ¶¶18-19
          Vanderheide, Judith    ¶22
          Voorhis, Ray           ¶16
          Weaver, Mike           ¶16
          Woodworth, Kathleen    ¶21
          Wright, Steve          ¶¶11, 14-16
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                                         Table 3
Declarations describing difficulty for Brookdale residents with mobility disabilities in using the
showers in their units because of the lack of compliant roll-in showers.


                             Declarant                        Paragraphs
                   Algarme, Jeanette               ¶23
                   Allen, Carole                   ¶17
                   Arnhym-Yanito, Anne             ¶18
                   Baum, Anna                      ¶15
                   Biggs-Adams, Carrie             ¶17
                   Burchfiel, Marian               ¶20
                   Caan, Bernice                   ¶19
                   Carlson, Joan                   ¶33
                   Carlson, Ralph                  ¶18
                   Claussen, Tracee                ¶23
                   Cuomo, Julie                    ¶15
                   DeMello, Wendy                  ¶23
                   Finn, Teresa                    ¶14
                   Frazin, Karen                   ¶19
                   Garrett, Max                    ¶15
                   Gilbertson, Anne                ¶¶20, 26
                   Hernandez, Heidi                ¶20
                   Howard, Tina                    ¶16
                   Ibarra, Lucy                    ¶18
                   Ireland, Shana                  ¶16
                   Jamson, Nick                    ¶22
                   Kaplan, Michael                 ¶19
                   Lane, Apryl                     ¶16
                   Lombardi, Ray                   ¶13
                   Maxson, Daniel                  ¶15
                   Mikell, Michelle                ¶20
                   Osuna, Elaine                   ¶16
                   Penney, Coleen                  ¶14
                   Pizzati, Linda                  ¶20
                   Stiner, Stacia                  ¶19
                   Streem, Holly Lou               ¶23
                   Vance, Patrick                  ¶21
                   Vanderheide, Judith             ¶22
                   Weaver, Mike                    ¶15
                   Wells, Fred                     ¶18
                   White, Marilyn                  ¶21
                   Wright, Steve                   ¶16
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                                          Table 4
Declarations describing difficulty, fatigue or frustration experienced as a result of sinks, counters
and/or tables that are inaccessible.


                             Declarant                        Paragraphs
                  Algarme, Jeanette                ¶24
                  Arnhym-Yanito, Anne              ¶17
                  Arsenian, Lee                    ¶¶19-20
                  Burchfiel, Marian                ¶21
                  Caan, Bernice                    ¶19
                  Carlson, Joan                    ¶¶33-34
                  Carlson, Ralph                   ¶18
                  Claussen, Tracee                 ¶23
                  Costantino, Daniela              ¶¶15, 17
                  DeMello, Wendy                   ¶24
                  Finn, Teresa                     ¶14
                  Ford-Melka, Joanna               ¶21
                  Hernandez, Heidi                 ¶21
                  Hughes, Lisa                     ¶22
                  Ibarra, Lucy                     ¶19
                  Ireland, Shana                   ¶16
                  Kaplan, Michael                  ¶¶19-20
                  Kotila, Susan                    ¶16
                  Lytle, Michele                   ¶21
                  Paulsen, Charlotte               ¶20
                  Penney, Coleen                   ¶13
                  Pizzati, Linda                   ¶20
                  Stiner, Stacia                   ¶¶19-20
                  Streem, Holly Lou                ¶23
                  Switzer, Barbara                 ¶¶17, 19
                  Vance, Patrick                   ¶20
                  Voorhis, Ray                     ¶17
                  Woodworth, Kathleen              ¶21
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                                         Table 5
Declarations identifying closets in resident rooms that are difficult or impossible to use because
the clothing rods are too high and out of reach.


                             Declarant                     Paragraphs
                   Alvey, Clarence                 ¶12
                   Arnhym-Yanito, Anne             ¶18
                   Arsenian, Lee                   ¶21
                   Baum, Anna                      ¶15
                   Best, Lori                      ¶18
                   Bier, Barbara                   ¶22
                   Burchfiel, Marian               ¶21
                   Caan, Bernice                   ¶21
                   Carlson, Joan                   ¶33
                   Carlson, Ralph                  ¶18
                   Costantino, Daniela             ¶¶14, 18
                   DeMello, Wendy                  ¶24
                   Doane, Mona                     ¶20
                   Ford-Melka, Joanna              ¶22
                   Gilbertson, Anne                ¶23
                   Hendricks, Karen                ¶17
                   Hernandez, Heidi                ¶22
                   Hughes, Lisa                    ¶23
                   Ibarra, Lucy                    ¶19
                   Jamson, Nick                    ¶24
                   Kaplan, Michael                 ¶20
                   Kotila, Susan                   ¶16
                   Lytle, Michele                  ¶21
                   Maxson, Daniel                  ¶16
                   Paulsen, Charlotte              ¶20
                   Pizzati, Linda                  ¶21
                   Ribich, Norma                   ¶13
                   Rons, Yvonne                    ¶16
                   Sosebee-Barnett, Cheryl         ¶18
                   Stinson, Debbie                 ¶20
                   Streem, Holly Lou               ¶22
                   Switzer, Barbara                ¶19
                   Vance, Patrick                  ¶22
                   Vanderheide, Judith             ¶21
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                                         Table 6
Declarations describing the inability of residents to access resident balconies or patios in their
units because of high thresholds that cannot be negotiated with their wheelchairs or difficulty in
opening the door to the balcony or patio.


                              Declarant                   Paragraphs
                     Algarme, Jeanette            ¶24
                     Alvey, Clarence              ¶13
                     Arsenian, Lee                ¶22
                     Caan, Bernice                ¶20
                     Costantino, Daniela          ¶14
                     Danek, Susan                 ¶20
                     Finn, Teresa                 ¶14
                     Frazin, Karen                ¶20
                     Gilbertson, Anne             ¶24
                     Hendricks, Karen             ¶17
                     Hernandez, Heidi             ¶23
                     Ireland, Shana               ¶16
                     Lindstrom, Pat               ¶12
                     Lombardi, Ray                ¶14
                     Ribich, Norma                ¶14
                     Sheek, Cory                  ¶17
                     Stiner, Stacia               ¶19
                     Stinson, Debbie              ¶21
                     Streem, Holly Lou            ¶24
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                                         Table 7
Declarations confirming Brookdale’s enforcement of its policy of requiring that residents who
use scooters or wheelchairs be required to transfer out of their devices and into passenger seats
and describing the deterrent effect of that policy.


                             Declarant                       Paragraphs
                    Algarme, Jeanette              ¶¶20-22
                    Bennett, Michael               ¶18
                    Caan, Bernice                  ¶16
                    DeMello, Wendy                 ¶¶25-26
                    Frazin, Karen                  ¶¶22-23
                    Hendricks, Karen               ¶16
                    Jestrabek-Hart, Bernie         ¶¶24-26
                    Stinson, Debbie                ¶19
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                                          Table 8
Declarations describing impact on residents with mobility disabilities of Brookdale’s limited
capacity to transport wheelchair and scooter users, including having to miss out on outings that
they would have liked to go on.


                              Declarant                  Paragraphs
                    Algarme, Jeanette             ¶21
                    Bennett, Michael              ¶19
                    Carlson, Joan                 ¶36
                    Carlson, Ralph                ¶20
                    Cuomo, Julie                  ¶18
                    Hefner, Patty                 ¶17
                    Howard, Tina                  ¶17
                    Penney, Coleen                ¶24
                    Pizzati, Linda                ¶24
                    Switzer, Barbara              ¶23
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                                         Table 9
Declarations describing resident and family member requests that Brookdale increase its staff to
ensure that it is sufficient at all times to provide the assisted living services specified in the
residents’ assessments.


                             Declarant                    Paragraphs
                    Algarme, Jeanette             ¶27
                    Allen, Carole                 ¶19
                    Alvey, Clarence               ¶15
                    Andersen, Peter               ¶18
                    Arnhym-Yanito, Anne           ¶21
                    Arsenian, Lee                 ¶26
                    Baum, Anna                    ¶¶17-18
                    Bennett, Michael              ¶23
                    Best, Lori                    ¶22
                    Bier, Barbara                 ¶26
                    Biggs-Adams, Carrie           ¶20
                    Bowen, Carolyn                ¶¶20-21
                    Bruni, Paula                  ¶¶19-20
                    Buff, Yvonne                  ¶20
                    Burcell, Gail                 ¶17
                    Burchfiel, Marian             ¶23
                    Caan, Bernice                 ¶23
                    Caffery, Nancy                ¶¶27-28
                    Cannella, Karen               ¶¶19-20
                    Carlson, Joan                 ¶40
                    Carlson, Ralph                ¶22
                    Claussen, Tracee              ¶25
                    Costantino, Daniela           ¶21
                    Cuomo, Julie                  ¶20
                    Danek, Susan                  ¶23
                    Davenport, Marlene            ¶17
                    DeMello, Wendy                ¶¶28-29
                    Doane, Mona                   ¶22
                    Dubnow, Barry                 ¶18
                    Finn, Teresa                  ¶18
                    Fischer, Paula                ¶19
                    Ford-Melka, Joanna            ¶27
                    Frazin, Karen                 ¶24
                    Freeman, SueAnn               ¶21
                    Garrett, Max                  ¶17
                    Gilbertson, Anne              ¶28
                    Hefner, Patty                 ¶18
                    Helm, Mary                    ¶¶27-29
                    Hendricks, Karen              ¶20
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          Hernandez, Heidi          ¶28
          Honsvick, Ronad           ¶18
          Howard, Tina              ¶18
          Hughes, Lisa              ¶27
          Ibarra, Lucy              ¶21
          Ireland, Shana            ¶18
          Jamson, Nick              ¶25
          Jestrabek-Hart, Bernie    ¶¶33-35
          Kaplan, Michael           ¶23
          Kotila, Susan             ¶17
          Lane, Apryl               ¶19
          Levin, Joshua             ¶16
          Lindstrom, Pat            ¶14
          Lombardi, Ray             ¶¶18, 20
          Lytle, Michele            ¶¶23-28
          Maxson, Daniel            ¶24
          Mikell, Michelle          ¶23
          Paulsen, Charlotte        ¶22
          Penney, Coleen            ¶26
          Phelps, Patricia Anne     ¶21
          Pizzati, Linda            ¶26
          Ribich, Norma             ¶17
          Sage, Nancy               ¶23
          Sheek, Cory               ¶21
          Sosebee-Barnett, Cheryl   ¶20
          Spooner, Connie Lynn      ¶¶21-22
          Stinson, Debbie           ¶24
          Streem, Holly Lou         ¶26
          Switzer, Barbara          ¶¶25-26
          Tidwell, Christina        ¶17
          Vance, Patrick            ¶24
          Vanderheide, Judith       ¶25
          Voorhis, Ray              ¶19
          Walsh, Leanne             ¶20
          Warford, April            ¶¶24-26
          Weitz, Michael            ¶18
          Wells, Fred               ¶22
          White, Marilyn            ¶24
          White, Sharon             ¶18
          Wiese, Bill               ¶14
          Woodworth, Kathleen       ¶23
          Wirth, Cheryl             ¶12
          Wright, Steve             ¶20
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                                                Table 10
        Declarations describing the impact on residents of Brookdale’s failure to provide sufficient staff
        to meet resident needs.
       Declarant                Paragraphs                                Description
                                                    (8) Fall and long response time to call button,
                                                    leaving resident to lie on the floor
                                                    (10) Fall which resulted in hospitalization when
                                                    going to bathroom
                                                    (11) Long delays which resulted in unwarranted
                                                    danger and fall
                                                    (15) Cut on foot, incurred during transfer by staff.
                                                    Went unaddressed by staff
                                                    (16) Staff member pushed wheelchair too fast over a
                                                    threshold, spilled scalding coffee that was not
                                                    properly sealed in thermos on Jeanette. Didn’t have
                                                    time to address right away, resulted in
                                                    hospitalization.
                                                    (17) After hospitalization and stay in skilled nursing
                                                    facility for burn, doctors determined she could not
Algarme, Jeanette         ¶¶8, 10, 11, 15, 16, 17   return to Brookdale due to insufficient staffing.
                                                    (13) Broken ankle from attempted one-person
Allen, Carole             ¶13                       transfer (when two required)
                                                    (11) Long response times to call buttons leaving
                                                    residents to lie on the floor or struggle in the shower
Alvey, Clarence           ¶11                       for hours before being discovered
                                                    (9) Delays resulting in unclothed/unchanged
                                                    resident. Showering and grooming issues.
                                                    (10) Soiled clothing and unchanged diapers, delays
                                                    resulting in bathroom accidents
                                                    (11-12) Failure to regulate blood sugar, resulting in
Arnhym-Yanito, Anne       ¶¶9-12                    ambulance
                                                    (10) Soiled clothing and unchanged diapers, long
                                                    wait times for bathroom use
Arriaga, Michael          ¶¶10-11                   (11) Long response times for dressing
                                                    (11) UTI, soiled clothing and unchanged diapers,
                                                    missed showers/improper toileting
                                                    (12) Improper toileting and missed showers
                                                    (13) Brookdale staff failed to timely notify declarant
Arsenian, Lee             ¶¶11-13                   of fever for over 24 hours, didn’t treat it or call 911
Baum, Anna                ¶11                       (11) UTI, and improper care for UTI
                                                    (12) Temporary caregiver woke resident abruptly at
Bennett, Michael          ¶¶12-14                   5am to take medications, not medically necessary
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                                                (13) Falls, inattentive care which caused fall and
                                                eventual UTI
                                                (14) Inadequate assessment of resident condition,
                                                including unnecessary ER visits, one of which
                                                resulted in resident contracting COVID-19.
                                                (10) Severe UTIs due to delayed response for
                                                bathroom, delayed response to falls leaving resident
                                                laying on ground for hours.
                                                (11) Understaffing resulting in uninformed staff
Best, Lori                 ¶¶10-11              who provided inadequate medication administration
                                                (18) Soiled clothing and unchanged diapers,
                                                insufficient toileting
                                                (20-21) Medically unnecessary ER visits, causing
Bicais, Jeanette           ¶¶18, 20-21          agitation and disorientation in resident
                                                (10) Long periods without showering, insufficient
                                                hygiene care
                                                (11) Inadequate and delayed showering; rushed and
                                                hurried showering habits
                                                (13) Frequent falls, staff called 911 when resident
                                                fell instead of helping her up
                                                (14) Fall, 3 broken ribs, missed meals due to no
                                                help, no showering
Bier, Barbara              ¶¶10-11, 13-14, 16   (16) Improper catheter care, resulted in trip to ER
                                                (10) Falls, ER visits
                                                (11) Fall, long response times to call buttons leaving
                                                resident to lie on the floor for 5 hours
                                                (12) Bed sores resulting from inadequate diapering
Biggs-Adams, Carrie        ¶¶10-12              and staff not moving resident in and out of chair.
                                                (10) Lost over 40 pounds in eight months
                                                (12) Falls, left unattended
Bowen, Carolyn             ¶¶10, 12-13          (13) long wait times in response to pendant calls
                                                (12) Failures to remind resident to attend meals,
                                                resulting in days where resident did not eat; ER
                                                visits due to collapses, without explanations from
                                                staff about what occurred.
                                                (14) Improper toileting/delays in assistance resulting
                                                in accidents
                                                (15) Improper eye-drop administration, resulting in
Bruni, Paula               ¶¶12, 14-15          further vision impairment
                                                (10) Falls, long response times to call buttons
                                                leaving resident to lie on the floor. Several injuries
Buff, Yvonne               ¶10                  resulted.
                                                (11) Inadequate diaper changing, leading to bladder
Burcell, Gail              ¶¶11-12              infections
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                                             (12) Falls from walking w/out walker, she was
                                             injured frequently, went to hospital 3-4 times a year
                                             from these falls.
                                             (10) Delays in assistance with showering causing
                                             resident to bathe self, endangered safety
                                             (11) Delays in assistance with dressing and
                                             grooming and failures to escort resident to dining
                                             room.
                                             (12) Frequently unaccompanied/delays while
                                             toileting, endangered resident, resulted in toileting
Burchfiel, Marian        ¶¶10-12             accidents when delays were long.
                                             (10) Long delays for toileting assistance resulting
                                             infrequent accidents; long delays in bathing
                                             assistance
                                             (11) Failures to escort resident to dining room for
                                             meals.
                                             (12) Resident would go long periods left unattended
Caan, Bernice            ¶¶10-12             and alone.
                                             (12) Went days without shower
                                             (14) Staff locked resident in room; fecal droppings
                                             all over resident’s room which went uncleaned
                                             (15) Multiple falls; cuts to the head after one fall,
Caffery, Nancy           ¶¶12, 14-15         found unattended in closet
                                             (10) Staff failed to accompany resident on walk, fell
Cannella, Karen          ¶10                 and hospitalized
                                             (14) Soiled briefs, poor hygiene, fecal matter under
                                             nails
                                             (15) Soiled clothing while left unattended in chair
                                             (16) Caregiver refused to assist resident, told her to
                                             defecate in her diaper
                                             (24) Fell, sent to hospital, Brookdale failed to notify
                                             declarant, resident left alone in hospital for hours
                                             (25) Brookdale staff placed ankle monitor around
Carlson, Joan            ¶¶14-16, 24-25      resident following elopements outside in parking lot
                                             (13) Inadequate toileting assistance, resident left in
                                             wet undergarments
                                             (15) Brookdale failed to notify family of resident’s
                                             emergency room visit, left alone and unattended for
Carlson, Ralph           ¶¶13, 15            hours
                                             (10) Due to lack of regular changing, mother grew
                                             ashamed of her appearance, elected to take meals in
                                             her room
                                             (11) Lack of regular showers, brushing teeth
                                             (12) Lack of bathroom assistance, suffered falls
Claussen, Tracee         ¶¶10-13             (13) Wet and soiled diaper briefs
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                                            (10) Missed two caregiver assist, one caregiver
Costantino, Daniela     ¶10                 dropped resident, fell, injuring arm
                                            (9) Resident vomited or passed out after taking
                                            medications on an empty stomach, contrary to
                                            instructions
                                            (10) Resident waits for hours until more caregivers
Cuomo, Julie            ¶¶9-10              can assist her back into her bed after falling out
                                            (11) Lack of bathroom assistance, left sitting for
                                            long periods of time in soiled undergarments
Danek, Susan            ¶¶11-12             (12) Body odor due to missed showers
                                            (10) Suffered UTIs due to lack of proper catheter
                                            care, hospitalizations
                                            (11) Missed bathing assistance
Davenport, Marlene      ¶¶10-11, 13         (13) Multiple falls, left unattended
                                            (11) Rushed and inadequate bathing services
                                            (12) Lack of basic grooming and hygiene
                                            (13) Failed bathroom assistance, resident would be
                                            covered in feces
                                            (15) Lack of two-person assist, resident fell,
DeMello, Wendy          ¶¶11-13, 15         hospitalized, passed away shortly thereafter
                                            (10) Missed showers and baths
                                            (12) Delayed bathing services, resident soiled
Doane, Mona             ¶¶10, 12            herself
                                            (12) Failed and missed showering and bathing
Dubnow, Barry           ¶12                 assistance
                                            (11) Resident left sitting on toilet unassisted, could
Fischer, Paula          ¶11                 not get up herself because legs went numb
Ford-Melka, Joanna      ¶¶12                (12) Missed showers
                                            (10) UTIs, led to hospitalization
                                            (15) Ongoing problems with hot and potable water
                                            access, caused poor hygiene among resident,
                                            including prolonged time in soiled diaper briefs
Frazin, Karen           ¶¶10, 15-16         (16) Resident hospitalized
                                            (10) Lack of showering, led resident to develop
                                            fungus
                                            (11) Soiled diaper briefs that went unchanged
Freeman, SueAnn         ¶¶10-12             (12) Resident left in soiled clothes
                                            (11) Resident hospitalized due to extreme hydration
                                            (12) Lack of bathroom and showering services for
Garrett, Max            ¶¶11-12             five weeks
                                            (12) Inadequate bathroom assistance, resident
Gilbertson, Anne        ¶12                 urinated on himself, left unattended on toilet
                                            (11) Missed showering and bathing services
                                            (13) Falls, one left unattended for two hours,
Hefner, Patty           ¶¶11, 13            hospitalized, staples placed in head
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                                             (18) Observed another resident left unattended on
                                             floor for twenty minutes, with lacerations to the
Helm, Mary               ¶18                 head, hospitalized
                                             (10) Missed showers and baths, left in wet and
                                             soiled diapers
                                             (11) Several falls, cuts and stitches, hospitalization
Hendricks, Karen         ¶¶10-12             (12) Two additional falls and hospitalizations
                                             (10) UTIs, soiled and wet diaper briefs
                                             (11) Persistent UTI that went unaddressed by staff
                                             (15) Falls, hospitalizations
                                             (16) Hospitalization after getting sick and vomiting,
Hernandez, Heidi         ¶¶10-11, 15-16      no one had cleaned resident
                                             (10) Missed showers and baths
                                             (11) Resident developed paralysis on side of face
                                             that went unaddressed by staff, turned out to be
Honsvick, Ronad          ¶¶10-11             Bell’s Palsy
Howard, Tina             ¶10                 (10) Missed showers and baths
                                             (16) Left unattended for hours, resident soiled
Hughes, Lisa             ¶16                 herself doing this time
                                             (11) Lack of toileting assistance led to UTIs
                                             (12) Fell and broke arm on account of no response,
Ibarra, Lucy             ¶¶11-12             resident tried to use the restroom by herself
                                             (10) Lack of toileting assistance, soiled and wet
                                             diaper briefs
                                             (11) Lack of showers provided
                                             (14) Staff failed to administer life saving cough
Ireland, Shana           ¶¶10-11, 14         syrup to alleviate aspiration symptoms
                                             (11) Regularly missed showers
                                             (14) Lack of bathroom assistance, bathroom
                                             accidents
                                             (16) Unnecessary hospitalization, falls due to
Jamson, Nick             ¶¶11, 14, 16        inadequate staff training in wheelchair transitions
                                             (11) Missed shower services, hours long waits for
                                             showers
Jestrabek-Hart, Bernie   ¶¶11, 15            (15) Missed and rushed shower
                                             (12) Left unattended in shower for over an hour
                                             (13) Caregiver dropped resident while transitioning
Kaplan, Michael          ¶¶12-13             into wheelchair, sent to ER
                                             (10) Left unattended in room with door locked for
Kotila, Susan            ¶10                 12 hours
                                             (10) Left in soiled diapers, clothing, developed
Lane, Apryl              ¶10                 rashes on buttocks and skin irritations
Lombardi, Ray            ¶10                 (10) Missed showers
                                             (12) Resident suffered UTI and kidney failure due to
                                             poor toileting assistance
Lytle, Michele           ¶¶12-13, 15-16      (13) Poor hygiene led to fungal infection
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                                               (15) Falls, left unattended, bruised ribs
                                               (16) Poor bathroom assistance, left in soiled
                                               undergarments
                                               (9) Resident left uncleaned in soiled bedding
                                               (10) Resident left in soiled diapers so long they
                                               ruined bedding
Maxson, Daniel            ¶¶9-10, 12           (12) Missed showers, developed body odor
                                               (12) Developed untreated UTIs
                                               (13) Missed showers, lack of assistance
Mikell, Michelle          ¶¶12-14              (14) Developed cellulitis as a result of poor care
                                               (10) Hospitalization following fall
                                               (12) Poor medication administration led to resident
Osuna, Elaine             ¶¶10, 12             gasping for breath, failure to provide inhaler timely
                                               (10) Lack of response led resident to urinate in his
Paulsen, Charlotte        ¶¶10                 diaper briefs
                                               (13) Falls precipitated by lack of response for
Phelps, Patricia Anne     ¶¶13                 bathroom assistance, one trip to ER
                                               (10) Resident wore same clothes over and over
                                               again, some of which did not even belong to
                                               resident, harming her dignity
                                               (11) Inadequate bathroom assistance, resident soiled
Pizzati, Linda            ¶¶10-11              and wet herself, developed UTIs
Ribich, Norma             ¶10                  (10) Resident suffered multiple falls
                                               (10) Missed showers, declarant often bathed
                                               resident herself
                                               (12) Falls, resident broke her arm while trying to get
Rons, Yvonne              ¶¶10, 12             out of shower alone
                                               (13) Lack of pendant response resulted in resident
                                               using the bathroom by herself, falling, being left
Sage, Nancy               ¶¶13                 unattended for hours, additional falls
                                               (11) Inadequate care with resident’s colostomy bag
                                               caused spills and leaks, wet linens and bedding
                                               (12) Spilled urine and fecal matter led resident to
Sheek, Cory               ¶¶11-12              develop skin irritations
Shepphird, Tammy          ¶¶13                 (13) Bruise on arm from fall
                                               (10) Elopement from facility on account of
                                               understaffing
                                               (11) UTIs, frequent falls, trips to the ER
                                               (12) Vomiting due to poor medication management
                                               (13) Med techs gave resident incorrect antibiotic,
Sosebee-Barnett, Cheryl   ¶¶10-13              causing allergic reaction
                                               (10) Missed showers, staff failed to remind resident
                                               (11) Due to missed bathing, resident began to smell
                                               (13) Left in wet and soiled diaper briefs
                                               (15) Medical technicians overmedicated resident for
Spooner, Connie Lynn      ¶¶10-11, 13, 15-16   a week without any inquiry
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                                             (16) Resident developed untreated sores and
                                             infections
                                             (11) Resident forced to wait in wet and soiled diaper
                                             briefs
                                             (12) Resident would be left unattended while on the
                                             toilet naked due to understaffing
                                             (13) Resident fell while attempting to use the toilet
Stinson, Debbie          ¶¶11-13             after ringing for assistance and no one responded
                                             (12) Lack of regular showers, resident developed
                                             body odor
                                             (13) Resident left sitting in wet or soiled diaper
                                             briefs for extended periods of time, especially in
                                             evenings
                                             (14) Resident developed rash along groin due to
Streem, Holly Lou        ¶¶12-14             sitting in dirty diapers
                                             (11) Resident left in wet or soiled diapers,
                                             developed catheter infections
                                             (12) Lack of hygiene assistance led resident to
Switzer, Barbara         ¶¶11-12             develop infection, had to be hospitalized
                                             (9) Lack of bathing services provided
                                             (10) Lack of dental hygiene got so poor resident had
                                             to pull out teeth
                                             (11) Resident lost weight because staff failed to
                                             deliver meals
                                             (12) Other residents entered resident’s room, staff
Tidwell, Christina       ¶¶9-12              unaware
                                             (12) Lack of bathroom assistance led to resident
                                             falling when attempting to use the restroom himself
                                             (13) Resident fell while attempting to get out of bed,
                                             staff left him on the floor while calling 911 because
                                             there was not enough staff to help him off the floor
                                             (15) Resident was able to get outside facility into
                                             parking lot in electric scooter unattended, would fall
Vance, Patrick           ¶¶12-13, 15         over
                                             (13) Missed showers
                                             (15) Due to understaffing other residents have been
Vanderheide, Judith      ¶¶13, 15            able to enter the resident’s room, threatening safety
                                             (10) Missed showers and baths, resident developed
                                             body odor
                                             (13) Numerous falls due to bathroom accidents, trips
Voorhis, Ray             ¶¶10, 13            to the hospital, serious injuries
                                             (10) Missed bathroom assistance, resident would
                                             attempt to toilet herself, fall in the process
                                             (12) Resident discovered on the ground crying after
Walsh, Leanne            ¶¶10, 12            fall, strong odor of feces due to not getting toileted
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                                             (14) Resident left in soiled, vomit covered clothing
                                             for four days
                                             (17) Resident went nearly three weeks without a
Warford, April           ¶¶14, 17            shower or bath
Weaver, Mike             ¶10                 (10) Missed showers due to understaffing
                                             (10) Missed showers and baths due to understaffing
                                             (11) Staff left resident for hours in soiled and wet
Weitz, Michael           ¶¶10-11             diaper briefs
                                             (10) Lack of showers, body odor
                                             (11) Missed dressings left resident in soiled and wet
                                             undergarments
                                             (12) Elopement outside the facility, fell trying to
                                             climb stairwell, suffering concussion and fractured
                                             hip
Wells, Fred              ¶¶10-12, 17         (17) Feces found on resident’s bathroom floor
                                             (11) Missed showers, service inconsistently
White, Marilyn           ¶11                 provided
White, Sharon            ¶10                 (10) Left in soiled diaper briefs, body odor
                                             (10) Inconsistent showers, left unattended on the
Wiese, Bill              ¶10                 toilet when rang call button for assistance
                                             (9) Lack of regular bathing assistance, resident’s
                                             genitals became inflamed due to poor grooming and
                                             hygiene assistance
                                             (10) Lack of dressing and grooming left resident in
Wirth, Cheryl            ¶¶9-10              urine-soaked clothes without getting changed
                                             (11) Missed showers, did not get allotted number of
                                             showers per week
                                             (14) Caregivers failed to change resident’s wet and
                                             urine-soaked clothes and diaper briefs while waiting
                                             for meals
                                             (15) Resident allowed to sleep in dirty and soiled
                                             clothes, no staff available to change resident into
                                             pajamas
                                             (16) Developed strong odor due to unchanged and
Woodworth, Kathleen      ¶¶11, 14-16         soiled diaper briefs
                                             (10) Resident went weeks before receiving initial
                                             bath, rarely got proper showers despite paying for
Wright, Steve            ¶10                 two-person assist
